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                        IN THE UNITED STATES DISTRICT COURT

        FOR THE NORTHERN DISTRICT OF MISSISSIPPI - WESTERN DIVISION


UNITED STATES OF AMERICA,

VS.                                             CRIMINAL NO: 2:09CR106-SA-DAS

LANORA MANNING

           ORDER GRANTING ADMISSION OF COUNSEL PRO HAC VICE

       This matter comes before the court upon the motion of the Defendant for admission of

counsel pro hac vice. Upon due consideration, the court finds that the motion is well-taken

and should be granted. Accordingly, it is ORDERED that Charles E. Waldman is hereby

admitted as counsel pro hac vice on behalf of the defendant.

       IT IS FURTHER ORDERED that counsel shall pay the admission fee and register

with the Clerk as a user of the court’s electronic filing system on or before October 12, 2009.

Attorneys may register electronically by accessing the attorney registration site at

www.msnd.uscourts.gov/ecf or, alternatively, by printing, executing and mailing or hand-

delivering to the Clerk of this court the Attorney Registration Form attached as Form 1 to the

Administrative Procedures for Electronic Case Filing in the United States District Court for the

Northern District of Mississippi.

       This, the 1st day of October 2009.

                                             /s/ David A. Sanders
                                             UNITED STATES MAGISTRATE JUDGE
